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                     Exhibit E
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                        "blocks": [
                            {
                                "text": "Laughed at \u201cThe KO is the winning
            defamation lawsuit \u201d"
                            }
                        ]
                    },
                    {
                        "id": "c1d73269-e4cd-49c7-86e0-f21e9dd161cf",
                        "
                        "type": "message",
                        "timestamp": "2022-12-27T04:37:03.000",
                        "deleted": false,
                        "blocks": [
                            {
                                "text": "mixed with humor"
                            }
                        ]
                    },
                    {
                        "id": "318e251c-5a33-46b0-9d81-57e254938f55",

                          "type": "message",
                          "timestamp": "2022-12-27T04:37:05.000",
                          "deleted": false,
                          "blocks": [
                              {
                                  "text": "Lawsuits are gay"
                              }
                          ]
                     },
                     {
                          "id": "43eb795c-cd5a-4259-a7fd-31d7b26293dd",
                          "
                          "type": "message",
                          "timestamp": "2022-12-27T04:37:07.000",
                          "deleted": false,
                          "blocks": [
                              {
                                  "text": "is fucking awesome LOL"
                              }
                          ]
                     },
                     {
                          "id": "04b76142-6b29-4b72-92b6-e9cccd6e7465",

                          "type": "message",
                          "timestamp": "2022-12-27T04:37:09.000",
                          "deleted": false,
                          "blocks": [
                              {
                                  "text": "The worst"
                              }
                          ]




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                     },
                     {
                          "id": "23c39768-7b88-4477-8adf-d8ea31449018",
                                                      ,
                          "type": "message",
                          "timestamp": "2022-12-27T04:37:09.000",
                          "deleted": false,
                          "blocks": [
                              {
                                  "text": "But yes"
                              }
                          ]
                     },
                     {
                          "id": "eaf9d399-ebb1-4edf-8678-57b665dbe678",

                          "type": "message",
                          "timestamp": "2022-12-27T04:37:15.000",
                          "deleted": false,
                          "blocks": [
                              {
                                  "text": "At your level necessary"
                              }
                          ]
                     },
                     {
                          "id": "af14a6f3-4360-4731-a4c9-4cd6598ac595",

                          "type": "message",
                          "timestamp": "2022-12-27T04:37:20.000",
                          "deleted": false,
                          "blocks": [
                              {
                                  "text": "Yeah this one is bad"
                              }
                          ]
                     },
                     {
                          "id": "00be0d30-5b35-4acb-b533-0026fa58aeb7",
                          "
                          "type": "message",
                          "timestamp": "2022-12-27T04:37:24.000",
                          "deleted": false,
                          "blocks": [
                              {
                                  "text": "Can\u2019t let it slide"
                              }
                          ]
                     },
                     {
                          "id": "4803d6b7-acc4-46c5-8342-c44703638256",
                          "
                          "type": "message",
                          "timestamp": "2022-12-27T04:37:31.000",




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                           "deleted": false,
                           "blocks": [
                               {
                                   "text": "To let others know it\u2019s not worth coming
            at you"
                               }
                           ]
                      },
                      {
                           "id": "cad42893-94b6-4f10-9dac-60e0152e2a47",

                           "type": "message",
                           "timestamp": "2022-12-27T04:37:34.000",
                           "deleted": false,
                           "blocks": [
                               {
                                   "text": "There\u2019s a price to pay"
                               }
                           ]
                      },
                      {
                           "id": "a87fbe7c-dbe2-4fd8-9f8a-a915178f797c",

                        "type": "message",
                        "timestamp": "2022-12-27T04:37:50.000",
                        "deleted": false,
                        "blocks": [
                            {
                                "text": "That\u2019s the idea. I see the momentum
            building cuz the throne is being shook rn"
                            }
                        ]
                    },
                    {
                        "id": "b5fd01c0-8086-41e0-be97-cfbd95a52bc3",

                           "type": "message",
                           "timestamp": "2022-12-27T04:37:53.000",
                           "deleted": false,
                           "blocks": [
                               {
                                   "text": "Need to shut it down"
                               }
                           ]
                      },
                      {
                           "id": "62b1701e-37fa-4751-821c-97244bcb297a",

                           "type": "message",
                           "timestamp": "2022-12-27T04:38:02.000",
                           "deleted": false,
                           "blocks": [
                               {
                                   "text": "Exactly"




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                               }
                          ]
                     },
                     {
                          "id": "47489234-b24b-47d4-8761-58992caf16f0",

                          "type": "message",
                          "timestamp": "2022-12-27T04:38:43.000",
                          "deleted": false,
                          "blocks": [
                              {
                                  "text": "Public humiliation is always more affective"
                              }
                          ]
                     },
                     {
                          "id": "88289880-bccd-4302-8bb3-7f3df57e1fe9",

                          "type": "message",
                          "timestamp": "2022-12-27T04:39:13.000",
                          "deleted": false,
                          "blocks": [
                              {
                                  "text": "Totally agree"
                              }
                          ]
                     },
                     {
                          "id": "6143d98a-e670-45f3-9403-f165b22b3c69",

                          "type": "message",
                          "timestamp": "2022-12-27T04:39:17.000",
                          "deleted": false,
                          "blocks": [
                              {
                                  "text": "Thanks for the help bro"
                              }
                          ]
                     },
                     {
                          "id": "6d16d03f-4555-45ae-a20d-889c3c585c57",

                        "type": "message",
                        "timestamp": "2022-12-27T04:39:23.000",
                        "deleted": false,
                        "blocks": [
                            {
                                "text": "May come back to you with more Q\u2019s if
            that\u2019s alright"
                            }
                        ]
                    },
                    {
                        "id": "84fe3532-2dc9-43c1-8651-2e0fba2bc923",




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